           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                    CRIMINAL CASE NO. 1:08cr59-2

UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
CHAVIS LEON HARGRO.       )
                          )

      THIS MATTER is before the Court on the Defendant’s pro se 3582

Motion for Sentence Reduction [Doc. 141].

      There are two problems with the motion. First, the Defendant has

not signed the motion or served a copy thereof on the United States

Attorney. Second, at the time the Defendant was sentenced on June 4,

2009, he was given the benefit of the modification made to the United

States Sentencing Guidelines by Amendment 706. As a result, he is not

entitled to any relief.

      IT IS, THEREFORE, ORDERED that the Defendant’s pro se 3582

Motion for Sentence Reduction [Doc. 141] is hereby DENIED.
                                     Signed: October 14, 2009




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